Filed 07/09/19                                                         Case 19-21640                                                                            Doc 70

     Information to identify the case:
     Debtor 1              Debora Leigh Miller−Zuranich                                               Social Security number or ITIN           xxx−xx−6813
                           First Name   Middle Name    Last Name                                      EIN 46−6330088
     Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
     (Spouse, if filing)
                           First Name   Middle Name    Last Name                                      EIN     _ _−_ _ _ _ _ _ _
     United States Bankruptcy Court              Eastern District of California                       Date case filed in chapter 13 :
                                                                                                      3/18/19
     Case number:          19−21640 − B − 11
                                                                                                      Date case converted to chapter 11:               7/3/19
                                                                                                                                                            12/15
     Official Form 309E (For Individuals or Joint Debtors)

     Notice of Chapter 11 Bankruptcy Case
     For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
     been entered.
     This notice has important information about the case for creditors and debtors, including information about the
     meeting of creditors and deadlines. Read both pages carefully.
     The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
     from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
     property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
     violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
     or not exist at all, although debtors can ask the court to extend or impose a stay.
     Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
     who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
     specified in this notice. (See line 10 below for more information.)
     To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
     through PACER (Public Access to Court Electronic Records at www.pacer.gov).

     The staff of the bankruptcy clerk's office cannot give legal advice.

     To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
     appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.

     Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
     Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.


                                                 About Debtor 1:                                                 About Debtor 2:
      1. Debtor's full name                      Debora Leigh Miller−Zuranich


      2. All other names used in the aka Debora Leigh Miller, dba Joseph J. Miller Living Trust
         last 8 years                dated October 8, 2007

                                                 9369 Newington Way
      3. Address                                 Elk Grove, CA 95758

                                                 Peter L. Cianchetta
      4. Debtor's attorney                       8788 Elk Grove Blvd. Ste. 2A                                 Contact phone: 916−685−7878
         Name and address                        Elk Grove, CA 95624

      5. Bankruptcy clerk's office                                                                            Hours: M−F 9:00 AM − 4:00 PM
         You may inspect all records filed in                                                                 www.caeb.uscourts.gov
                                                 Robert T Matsui United States Courthouse
         this case at this office or online at
                                                 501 I Street, Suite 3−200
         www.pacer.gov.                                                                                       Phone: (916) 930−4400
                                                 Sacramento, CA 95814
                                                                                                              Date: 7/9/19

      6. Meeting of creditors                                                                                 Location:
                                                                                                              Robert T Matsui United States Courthouse,
         Debtors must attend the meeting to      August 8, 2019 at 10:00 AM                                   501 I Street, Room 7−500, 7th Floor,
         be questioned under oath. In a joint                                                                 Sacramento, CA 95814
         case, both spouses must attend.         The meeting may be continued or adjourned to a later date.
                                                 If so, the date will be on the court docket.               Debtors are required to bring government
         Creditors may attend, but are not                                                                  issued photo identification and proof of social
         required to do so.                                                                                 security number to the meeting.

                                                                                                                For more information, see page 2 >

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     Debtor: Debora Leigh Miller−Zuranich                                                                              Case number: 19−21640 − B − 11

    7. Deadlines                              File by the deadline to object to discharge or to challenge whether certain debts are
                                              dischargeable:
        The bankruptcy clerk's office
        must receive these documents          First date set for hearing on confirmation of plan. The court will send you a notice of that date later.
        and any required filing fee by
        the following deadlines.

                                              Filing deadline for dischargeability complaints: 10/7/19
                                              You must file a complaint:

                                                      • if11you assert that the debtor is not entitled to receive a discharge of any debts under
                                                             U.S.C. § 1141(d)(3) or
                                                      • if you want to have a debt excepted from discharge under 11 U.S.C. § 523(a)(2), (4), or (6).

                                              Deadline for filing proof of claim:                              Filing Deadline: 11/6/19
                                              For a governmental unit:                                         Filing Deadline: 12/30/19

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                              www.uscourts.gov, www.caeb.uscourts.gov, or at one of the Eastern District of California divisional offices.
                                              You may also complete a paperless proof of claim online at www.caeb.uscourts.gov/ElectronicClaims.aspx.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                              file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You
                                              may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                              of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important non−monetary
                                              rights, including the right to a jury trial.


                                              Deadline to object to exemptions:                                Filing Deadline:

                                              The law permits debtors to keep certain property as              30 days after the conclusion of the meeting of
                                              exempt. If you believe that the law does not authorize an        creditors
                                              exemption claimed, you may file an objection.

    8. Creditors with a foreign             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
       address                              extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.

    9. Filing a Chapter 11                  Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
       bankruptcy case                      confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you
                                            may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing, and
                                            you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the
                                            debtor will remain in possession of the property and may continue to operate the debtor's business.

    10. Discharge of debts                  Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt. See
                                            11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until all
                                            payments under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                            debtors personally except as provided in the plan. If you believe that a particular debt owed to you should be
                                            excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the filing
                                            fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                            of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee in the clerk's
                                            office by the first date set for the hearing on confirmation of the plan. The court will send you another notice
                                            telling you of that date.

    11. Exempt property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                            to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                            You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                            does not authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office
                                            must receive the objection by the deadline to object to exemptions in line 7.

    12. Options to Receive Notices Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov or debtors can register
        Served by the Clerk by     for DeBN by filing form EDC 3−321 Debtor's Electronic Noticing Request (DeBN) with the Clerk of Court. Both
                                   options are FREE and allow the Clerk to quickly send you court−issued notices and orders by email.
        Email Instead of by U.S.
        Mail


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